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·1· ·Kirker Davis, and she loaned me probably 20 or 30 for
·2· ·Noelke and Maples.
·3· · · · Q.· ·Okay.· Okay.· Now, I know that this loan has
·4· ·been satisfied since the sale of the property on Terjo.
·5· ·Did I pronounce that correct?
·6· · · · A.· ·Terjo Lane, yes.
·7· · · · Q.· ·Terjo.· But was there a home equity line of
·8· ·credit that you and Rachel, perhaps, took out?
·9· · · · A.· ·Yes.· There was a home equity line of credit.
10· · · · Q.· ·Can you tell me a little bit about how much it
11· ·was -- was borrowed, when, and what were the funds used
12· ·for?
13· · · · A.· ·It was done in September of 2021.· There was a
14· ·line of credit for 450,000, I believe.· We were required
15· ·to take 25 or 30 out immediately, and that, I'm sure,
16· ·was spent on personal expenses.· And the remainder of
17· ·the funds were drawn out over time for lawyers fees for
18· ·her lawyers, my lawyers, living expenses.
19· · · · · · ·I was ordered by the court to pay for Rachel's
20· ·home for a year, her moving expenses, furniture.· And I
21· ·believe some of that may have been used to pay off
22· ·credit cards or things along the way that were --
23· ·because you put lawyer fees on the credit cards.· But
24· ·yes, that was the majority of the funds.
25· · · · Q.· ·Now, how would we trace that money?· If you

                                                                        DEFENDANT'S
                                                                          EXHIBIT

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·1· ·would take money out of the home equity line of credit,
·2· ·would you deposit it into a bank?
·3· · · · A.· ·Yes.
·4· · · · Q.· ·And what bank account would you deposit it
·5· ·into?
·6· · · · A.· ·It goes from Washington Federal to Wells
·7· ·Fargo.
·8· · · · Q.· ·Okay.· And then to wherever -- whatever credit
·9· ·card?
10· · · · A.· ·Correct.
11· · · · Q.· ·Okay.· Now, who is Kristen Byerly?
12· · · · A.· ·She is an employee that worked for Crossover.
13· · · · Q.· ·Did you -- did you and Kristen have a romantic
14· ·relationship?
15· · · · A.· ·No.
16· · · · Q.· ·Okay.
17· · · · A.· ·She's married.· She was hired by Rachel.
18· · · · Q.· ·And who is Kristen married to?
19· · · · A.· ·I don't really -- I forget what her husband's
20· ·name is.· I'm not sure.
21· · · · Q.· ·Do you know, sitting here today -- and if you
22· ·don't that's okay -- how much you've spent in attorneys
23· ·fees?
24· · · · A.· ·Me, personally?
25· · · · Q.· ·Yes, sir.




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